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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


MILLENNIUM IP, INC. and MILLENNIUM MEDIA, INC.,

       Plaintiffs,
                                                               Case No.: 1:17-cv-8201
v.
                                                               Judge Harry D. Leinenweber
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                       Magistrate Judge Jeffrey T. Gilbert

       Defendants.


                                   FINAL JUDGMENT ORDER

        This action having been commenced by MILLENNIUM IP, INC. and MILLENNIUM

 MEDIA, INC. (“Millennium” or “Plaintiffs”) against the defendants identified in the attached

 First Amended Schedule A and using the Defendant Domain Names and Online Marketplace

 Accounts (collectively, the “Defendant Internet Stores”), and Plaintiffs having moved for entry

 of Default and Default Judgment against the defendants identified in the First Amended

 Schedule A attached hereto (collectively, the “Defaulting Defendants”);

        This Court having entered upon a showing by Plaintiffs, a temporary restraining order

 and preliminary injunction against Defaulting Defendants which included a domain name

 transfer order and asset restraining order;

        Plaintiffs having properly completed service of process on Defaulting Defendants, the

 combination of providing notice via electronic publication or e-mail, along with any notice that

 Defaulting Defendants received from domain name registrars and payment processors, being

 notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the
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pendency of the action and affording them the opportunity to answer and present their

objections; and

        None of the Defaulting Defendants having answered the Complaint or appeared in any

way, and the time for answering the Complaint having expired;

        THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Defendant Internet Stores through which Illinois residents can purchase products

bearing counterfeit versions of Millennium’s trademark and copyright which is protected by U.S.

Copyright    Registration   Nos.   PA-1-703-039;    PA-1-810-290     and   PAu-3-734-299      (the

“EXPENDABLES”).

        THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

copyright infringement (17 U.S.C. § 504), false designation of origin (15 U.S.C. § 1125(a)), and

violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510, et seq.).

        IT IS HEREBY ORDERED that Plaintiffs’ Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

IT IS FURTHER ORDERED that:

1.      Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

        confederates, and all persons acting for, with, by, through, under, or in active concert

        with them be permanently enjoined and restrained from:




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   a. using the EXPENDABLES Trademark and Copyright or any reproductions,

      counterfeit copies or colorable imitations thereof in any manner in connection with

      the distribution, marketing, advertising, offering for sale, or sale of any product that is

      not a genuine Plaintiffs Product or not authorized by Plaintiffs to be sold in

      connection with the EXPENDABLES Trademark and Copyright;

   b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

      Plaintiffs Product or any other product produced by Plaintiffs, that is not Plaintiffs’ or

      not produced under the authorization, control or supervision of Plaintiffs and

      approved by Plaintiffs for sale under the EXPENDABLES Trademark and Copyright;

   c. committing any acts calculated to cause consumers to believe that Defaulting

      Defendants’ products are those sold under the authorization, control or supervision of

      Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

   d. further infringing the EXPENDABLES Trademark and Copyright and damaging

      Plaintiffs’ goodwill;

   e. otherwise competing unfairly with Plaintiffs in any manner;

   f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

      distributing, returning, or otherwise disposing of, in any manner, products or

      inventory not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be sold

      or offered for sale, and which bear any of the EXPENDABLES Trademark and

      Copyright or any reproductions, counterfeit copies or colorable imitations thereof;

   g. using, linking to, transferring, selling, exercising control over, or otherwise owning

      the Online Marketplace Accounts, the Defendant Domain Names, or any other

      domain name or online marketplace account that is being used to sell or is the means



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           by which Defaulting Defendants could continue to sell Counterfeit/Infringing

           Products; and

        h. operating and/or hosting websites at the Defendant Domain Names and any other

           domain names registered or operated by Defaulting Defendants that are involved with

           the distribution, marketing, advertising, offering for sale, or sale of any product

           bearing the EXPENDABLES Trademark and Copyright or any reproductions,

           counterfeit copies or colorable imitations thereof that is not a genuine Plaintiffs

           Product or not authorized by Plaintiffs to be sold in connection with the

           EXPENDABLES Trademark and Copyright.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, within three (3) business days of receipt of this Order, shall, at

        Plaintiffs’ choosing:

        a. permanently transfer the Defendant Domain Names to Plaintiffs’ control, including

           unlocking and changing the registrar of record for the Defendant Domain Names to a

           registrar of Plaintiffs’ selection, and the domain name registrars shall take any steps

           necessary to transfer the Defendant Domain Names to a registrar of Plaintiffs’

           selection; or

        b. cancel the registrations for the Defendant Domain Names and make them inactive.

3.      Those in privity with Defaulting Defendants and with actual notice of this Order,

        including any online marketplaces such as iOffer and Alibaba Group Holding Ltd.,

        Alipay.com Co., Ltd. and any related Alibaba entities (collectively, “Alibaba”), social

        media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as



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        Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and domain name

        registrars, shall within three (3) business days of receipt of this Order:

        a. disable and cease providing services for any accounts through which Defaulting

           Defendants engage in the sale of counterfeit and infringing goods using the

           EXPENDABLES Trademark and Copyright, including any accounts associated with

           the Defaulting Defendants listed on First Amended Schedule A attached hereto;

        b. disable and cease displaying any advertisements used by or associated with

           Defaulting Defendants in connection with the sale of infringing goods using the

           EXPENDABLES Trademark and Copyright; and

        c. take all steps necessary to prevent links to the Defendant Domain Names identified

           on First Amended Schedule A from displaying in search results, including, but not

           limited to, removing links to the Defendant Domain Names from any search index.

4.      Pursuant to 17 U.S.C. § 504(c)(2), Plaintiffs are awarded statutory damages from each of

        the Defaulting Defendants in the amount of one hundred thousand dollars ($100,000) for

        the willful infringement of Plaintiffs’ copyright which is protected by U.S. Copyright

        Registration Nos. PA-1-703-039; PA-1-810-290 and PAu-3-734-299.

5.      Western Union shall, within two (2) business days of receipt of this Order, permanently

        block any Western Union money transfers and funds from being received by the

        Defaulting Defendants identified on First Amended Schedule A.

6.      Amazon Payments, Inc. and PayPal, Inc. (“Amazon and PayPal”) shall, within two (2)

        business days of receipt of this Order, permanently restrain and enjoin any China or Hong

        Kong based accounts connected to Defaulting Defendants, Defaulting Defendants’

        Online Marketplace Accounts or Defaulting Defendants’ websites identified on First



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        Amended Schedule A from transferring or disposing of any money or other of Defaulting

        Defendants’ assets.

7.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

        monies held by Amazon and PayPal, are hereby released to Plaintiffs as partial payment

        of the above-identified damages, and Amazon and PayPal is ordered to release to

        Plaintiffs the amounts from Defaulting Defendants’ Amazon and PayPal accounts within

        ten (10) business days of receipt of this Order.

8.      Until Plaintiffs have recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiffs shall have the ongoing authority to serve this Order on Amazon and

        PayPal in the event that any new Amazon and PayPal accounts controlled or operated by

        Defaulting Defendants are identified. Upon receipt of this Order, Amazon and PayPal

        shall within two (2) business days:

        a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

           Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

           including, but not limited to, any Amazon and PayPal accounts;

        b. Restrain and enjoin such accounts or funds that are China or Hong Kong based from

           transferring or disposing of any money or other of Defaulting Defendants’ assets; and

        c. Release all monies restrained in Defaulting Defendants’ Amazon and PayPal accounts

           to Plaintiffs as partial payment of the above-identified damages within ten (10)

           business days of receipt of this Order.

9.      Until Plaintiffs have recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiffs shall have the ongoing authority to serve this Order on any banks,

        savings and loan associations, or other financial institutions (collectively, the “Financial

        Service Providers”) in the event that any new financial accounts controlled or operated by

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         Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

         Providers shall within two (2) business days:

         a. Locate all accounts connected to Defaulting Defendants, Defaulting Defendants’

            Online Marketplace Accounts or Defaulting Defendants’ websites;

         b. Restrain and enjoin such accounts from receiving, transferring or disposing of any

            money or other of Defaulting Defendants’ assets; and

         c. Release all monies restrained in Defaulting Defendants’ financial accounts to

            Plaintiffs as partial payment of the above-identified damages within ten (10) business

            days of receipt of this Order.

10.      In the event that Plaintiffs identify any additional online marketplace accounts, domain

         names or financial accounts owned by Defaulting Defendants, Plaintiffs may send notice

         of any supplemental proceeding to Defaulting Defendants by e-mail at the email

         addresses identified in Exhibit 2 to the Declaration of Trevor Short and any e-mail

         addresses provided for Defaulting Defendants by third parties.

11.      The ten thousand-dollar ($10,000) cash bond posted by Plaintiffs, including any interest

         minus the registry fee, is hereby released to Plaintiffs or its counsel, Keith A. Vogt. The

         Clerk of the Court is directed to return the cash bond previously deposited with the Clerk

         of the Court to Plaintiffs or its counsel by check made out to the Keith A. Vogt IOLTA

         account.

This is a Final Judgment.

Dated: January 23, 2018


                                       _____________________________________
                                       The Honorable Harry D. Leinenweber
                                       United States District Court Judge


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                       FIRST AMENDED SCHEDULE A


       No.                     Defendants (Vendor Name)
         1   0 profit audience 包邮
         2   1995openyoureyes1995
         3   A Boy's Store
         4   aldiyanto290's booth
         5   angel bola occident jewelry Store
         6   angel898
         7   Arliando's booth
         8   Art Deco Store
         9   Art Decoration Factory Outlet Store
        10   au2014.yukye
        11   Beyaly Jewelry (Shenzhen) Limited
        12   Chan of the decorative
        13   cn-seller-01
        14   Cos on fire
        15   Design decals for Game Consoles
        16   Dongguan Beauty Crafts Co., Ltd.
        17   Dongguan Donglin Jewelry Co., Ltd.
        18   Dongguan Jewelrylee Metal Crafts Co., Ltd.
        19   Dongguan Kaimei Jewelry Co., Limited


        22   Dongguan Original Dream Jewelry Co., Ltd.
        23   Dongguan Xuwen Jewelry Co., Ltd.
        24   Dongguan Yin Yun Metal Crafts Co., Ltd.
        25   Dream of jewelry
        26   E impression T-shirt mug
        27   elegantlady2014
        28   Erizt
        29   EVBEA Skull Jewelry Directly-Operated Store
        30   Fuzhou collection of cultural life
        31   Fuzhou Firstmadam Jewelry (Ponerine Global) Trade Co., Ltd.
        32   Godspeed Everyone

        34 green_shirt's booth

        36 Guangzhou King Jewelry Trading Company Ltd.
        37 Half Moon Jewelry


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        39 happystore_china

        41   HSIC Store Factory (EXP)
        42   Illustrator service platform
        43   InHousePrinting
        44   jayghoulwu
        45   lluvia Factory Store


        48   MS JEWELS
        49   Ningbo Huize Trading
        50   owoer
        51   Professional fashion customization
        52   ritaganiarsih's booth


        55 Shanghai Jietao Trade Co., Ltd.
        56 Shanyong Jewelry Co.,Ltd
        57 Shenzhen Truegold Jewelry Co., Ltd.

        59 Stylejewelrys
        60 Take pipe boy Store
        61 tomorrowaa

        63   tryt
        64   U [3302727919]
        65   Usdream(EXP)
        66   Yichun City Dongsheng Jewelry Co., Ltd.
        67   Yiwu City Evbea E-Commerce Firm
        68   Yiwu Guno Jewelry Co., Ltd.
        69   Yiwu JOFO Jewelry Co., Ltd. (EXP)
        70   Yiwu Lordon Jewelry Co., Ltd.

        72   Yiwu Tryme Jewelry Factory (EXP)
        73   Yiwu Zhuofang Jewelry Co., Ltd.
        74   Your Exclusive Jewelry Mall / Somen Jewelry Store
        75   yufen2009abc
        76   ZYBox
        77   7eavenshop
        78   Accessories4Life


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         79   Arlene Mitchell
         80   BDposters
         81   bigscreenmovieposters (EXP)
         82   Dancing Zone (EXP)
         83   DAVE LOIV
         84   David Nuwayhid
         85   DC TRADE (EXP)
         86   delatcha
         87   Diane Gow
         88   Fashion Ahead
         89   Fronit
         90   GESE
         91   Gool T Shirts
         92   Great Tees Co
         93   HoneWeCord
         94   Imaginus-Posters
         95   Janeyer
         96   Jiang Su Tong Da Yi Liao Qi Xie You Xian Gong Si
         97   JINTONGMY
         98   Karen Jackson Poo
         99   KDTMK
        100   Layger (EXP)
        101   LORENE STA
        102   LORI GRE
        103   LovDashUS
        104   Love L
        105   Lucy Leea
        106   Marie Loc
        107   Marie Sto Shop
        108   Mas Tazas
        109   Michael Monte
        110   Poster777
        111   Pu xiangdong
        112   Queenie Shane Bright
        113   Schicarpenter
        114   Steve J.L.
        115   Super jd
        116   Tdpep
        117   Thongdshop
        118   Travon Williams
        119   True MEN (EXP)


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        120   Truman Gallup
        121   uisdbnvh
        122   Underone
        123   USbazar
        124   wengjinhong
        125   Z-Bert




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